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                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


UNITED STATES OF AMERICA, )
    Plaintiff,            )
                          )
v.                        )                No. 21 CR 698
                          )                The Hon. Judge Gettleman
RONALD MOLO,              )
    Defendant.            )


RONALD MOLO’S MOTION TO EXPAND CONDITIONS OF RELEASE

NOW COMES Defendant, Ronald Molo, through his counsel, Joshua B.

Adams, and respectfully requests this honorable court expand the conditions

of his release and permit him to travel to Lexington, Kentucky from June 30

through July 4, 2023. In support of his motion, Mr. Molo states the following.

      1. On May 23, 2023, this honorable court sentenced Mr. Molo to 24

         months imprisonment.

      2. Mr. Molo has scheduled a trip with his family to Lexington,

         Kentucky between June 30, 2023 through July 4, 2023.

      3. The government takes no position on this motion.




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                                     Respectfully Submitted,

                                     s/Joshua B. Adams
                                     Joshua B. Adams
                                     Counsel for Ronald Molo

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